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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                        )
JANSSEN BIOTECH, INC.,                                  )
                Plaintiff,                              )
                                                        )          Case No. 1:17-cv-11008-MLW
                                                        )
v.                                                      )
                                                        )
CELLTRION HEALTHCARE CO., LTD.,                         )
CELLTRION, INC., and                                    )
HOSPIRA, INC.                                           )
                  Defendants.                           )
                                                        )

JANSSEN’S ASSENTED-TO MOTION TO SEAL ITS OPPOSITION TO DEFENDANTS’
    MOTION FOR PARTIAL SUMMARY JUDGMENT ON THE ISSUE OF NON-
 INFRINGING ALTERNATIVES, STATEMENT OF MATERIAL FACTS IN SUPPORT
           OF ITS OPPOSITION, AND ACCOMPANYING EXHIBITS

         Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal the following

documents:

     •   Janssen’s Opposition to Defendants’ Motion for Partial Summary Judgment on the Issue

         of Non-Infringing Alternatives;

     •   Janssen’s Statement of Material Facts in Support of Plaintiff’s Opposition to Defendants’

         Motion for Summary Judgment on the Issue of Non-Infringing Alternatives; and

     •   Exhibits 1-4 to the Statement of Material Facts in Support of Plaintiff’s Opposition.

         In support of this motion, Plaintiff states as follows:

         1. Janssen intends to file the above-referenced documents today.

         2. These documents contain reference to, and discussion of, certain confidential

            information that may be considered proprietary by the Plaintiff, Defendants, and third

            parties.
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     3. To minimize the impact of sealing, Janssen will file a redacted version of the

        Opposition to Defendants’ Motion for Partial Summary Judgment on the Issue of

        Non-Infringing Alternatives through the Court’s electronic filing system.

     4. The granting of this motion will not prejudice any party.

     5. The Defendants assent to the relief requested.

Dated: May 25, 2018                            Respectfully Submitted,
                                               JANSSEN BIOTECH, INC.

                                               By its attorneys,

                                               /s/ Alison C. Casey

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                                               Attorneys for Janssen Biotech, Inc.
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                           LOCAL RULES 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was advised that the defendants assent to
the relief requested.


                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on May 25, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
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